 Case 17-27738-RG           Doc 73     Filed 11/19/18 Entered 11/19/18 13:15:49              Desc
                                             Page 1 of 3


                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY


In re:                                                      Case No. 17-27738
         DENISE L FARINA

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Marie-Ann Greenberg, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:

         1) The case was filed on 08/31/2017.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 10/24/2018.

         6) Number of months from filing to last payment: 12.

         7) Number of months case was pending: 15.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $105,317.13.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (09/01/2009)
 Case 17-27738-RG         Doc 73         Filed 11/19/18 Entered 11/19/18 13:15:49                          Desc
                                               Page 2 of 3



Receipts:

       Total paid by or on behalf of the debtor                 $9,100.00
       Less amount refunded to debtor                               $0.00

NET RECEIPTS:                                                                                       $9,100.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                  $8,597.40
    Court Costs                                                                $0.00
    Trustee Expenses & Compensation                                          $502.60
    Other                                                                      $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                   $9,100.00

Attorney fees paid and disclosed by debtor:                      $0.00


Scheduled Creditors:
Creditor                                        Claim         Claim            Claim        Principal        Int.
Name                                  Class   Scheduled      Asserted         Allowed         Paid           Paid
CAPITAL ONE BANK                  Unsecured     20,756.00     20,794.95        20,794.95            0.00         0.00
DISCOVER BANK                     Unsecured            NA         223.90           223.90           0.00         0.00
INTERNAL REVENUE SERVICE          Priority            0.00           NA               NA            0.00         0.00
MICHAEL J LUCIANO AND IC IMPROV   Unsecured    272,877.83    274,574.97       274,574.97            0.00         0.00
NEW JERSEY DIVISION OF TAXATIO    Priority            0.00           NA               NA            0.00         0.00




UST Form 101-13-FR-S (09/01/2009)
 Case 17-27738-RG           Doc 73      Filed 11/19/18 Entered 11/19/18 13:15:49                 Desc
                                              Page 3 of 3



 Summary of Disbursements to Creditors:
                                                              Claim            Principal           Interest
                                                            Allowed                Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                         $0.00             $0.00              $0.00
       Mortgage Arrearage                                       $0.00             $0.00              $0.00
       Debt Secured by Vehicle                                  $0.00             $0.00              $0.00
       All Other Secured                                        $0.00             $0.00              $0.00
 TOTAL SECURED:                                                 $0.00             $0.00              $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                              $0.00             $0.00              $0.00
        Domestic Support Ongoing                                $0.00             $0.00              $0.00
        All Other Priority                                      $0.00             $0.00              $0.00
 TOTAL PRIORITY:                                                $0.00             $0.00              $0.00

 GENERAL UNSECURED PAYMENTS:                            $295,593.82               $0.00              $0.00


Disbursements:

         Expenses of Administration                              $9,100.00
         Disbursements to Creditors                                  $0.00

TOTAL DISBURSEMENTS :                                                                         $9,100.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 11/19/2018                             By:/s/ Marie-Ann Greenberg
                                                                    Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (09/01/2009)
